                Case 2:19-bk-52066-MPP                           Doc 18 Filed 10/18/19 Entered 10/18/19 09:28:37                               Desc
                                                                  Main Document    Page 1 of 2
Fill in this information to identify your case:

Debtor 1           Jane Seward Street
                   __________________________________________________________________
                    First Name                 Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name                Last Name


                                        Eastern District Of Tennessee
United States Bankruptcy Court for the: _______________________________________

Case number         2:19-bk-52066-MPP
                    ___________________________________________                                                                               Check if this is an
 (If known)                                                                                                                                      amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Hold Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                       secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                   Surrender the property.                          
                                                                                                                                         X No
          name:      Cash Company
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt: 2008 Chrysler T&C with 160,000 miles., 2005                     Reaffirmation Agreement.
                                 Lexus RX with 159,000 miles.                         
                                                                                      X Retain the property and [explain]: Continue
                                                                                                                           __________
                                                                                         making payments
                                                                                         ______________________________________

   
          Creditor’s                                                                   Surrender the property.                          
                                                                                                                                         X No
          name:      Check Into Cash
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt: 2005 Cadillac Escalade                                          Reaffirmation Agreement.
                                                             with 165,000 miles.
                                                                                      
                                                                                      X Retain the property and [explain]: Continue
                                                                                                                           __________
                                                                                         making payments
                                                                                         ______________________________________
   
          Creditor’s
                     Bank of America
                                                                                       Surrender the property.                          
                                                                                                                                         X No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                    
                                                                                      X Retain the property and enter into a
          securing debt: 2806 Oakcliff Court, Johnson City, TN                           Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

  Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
            Case 2:19-bk-52066-MPP                         Doc 18 Filed 10/18/19 Entered 10/18/19 09:28:37                               Desc
                                                            Main Document    Page 2 of 2
Your name      Jane Seward Street
               ______________________________________________________                                                 2:19-bk-52066-MPP
                                                                                                Case number (If known)_____________________________________
               First Name           Middle Name      Last Name




  Part 2:          List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                                   Will the lease be assumed?

     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
     Description of leased                                                                                               Yes
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                    No
                                                                                                                        Yes
     Description of leased
     property:
 
     Lessor’s name:                                                                                                    No
                                                                                                                        Yes
     Description of leased
     property:




 Part 3:           Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



 s/Jane Seward Street
      ___________________________________________                  ___________________________________________
     Signature of Debtor 1                                           Signature of Debtor 2

          10/17/2019
     Date _________________                                          Date _________________
            MM /    DD   /   YYYY                                         MM /   DD /   YYYY




 Official Form 108                                Statement of Intention for Individuals Filing Under Chapter 7                          page 2
